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 8                              UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10                                   WESTERN DIVISION
11
12 LUCAS R., et al.,                          Case No. 2:18-CV-05741 DMG PLA
13               Plaintiffs,                  PLAINTIFFS’ SUPPLEMENTAL
                                              SUBMISSION REGARDING
14        v.                                  ERRONEOUS STEP-UPS
                                              PURSUANT TO THE COURT’S
15 ALEX AZAR, et al.,                         DECEMBER 22, 2020 ORDER
16                   Defendants.              Complaint Filed: June 29, 2018
                                              Judge: Hon. Dolly M. Gee
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28                                                   PLAINTIFFS’ SUPPLEMENTAL SUBMISSION
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1          On December 22, 2020, following a hearing on the parties’ cross motions for
2    summary judgment, the Court issued an Order Re Supplemental Submissions, Pretrial
3    Dates and Deadlines, and Joint Status Report requiring Plaintiffs to submit a description
4    of “any incidents where a stepped-up minor was incorrectly found to be a danger to self
5    or others that occurred after the Court’s Order in Flores v. Sessions, NO. CV 85-4544-
6    DMG (AGRx), 2018 WL 10162328 (C.D. Cal. July 30, 2018).” (ECF No. 320.) In
7    response, Plaintiffs submit the following evidence.
8         I.   Introduction
9          Numerous children have been erroneously stepped up to restrictive placements
10   since the Court’s July 30, 2018 Order in Flores v. Sessions. These instances, among
11   others, are detailed in Section II infra, as well as in Plaintiffs’ Motion for Partial
12   Summary Judgment (“Pls. MSJ”) and Statement of Undisputed Facts. (See ECF No.
13   271-1, at 38-51; ECF No. 271-2, at ¶ 218.)
14         There are a few caveats to the evidence described infra that are worth noting at
15   the outset. First, Plaintiffs’ access to evidence of erroneous step-ups is inherently
16   limited. As recognized in the oral tentative order given by this Court at the summary
17   judgment hearing, ORR’s current policies and procedures violate the Due Process
18   Clause by failing to provide Class Members an adequate opportunity to challenge
19   ORR’s step-up decisions, which should include, inter alia, “robust post step-up hearing
20   procedures and notice.” (Ex. 204 [MSJ Hearing Tr.] at 5:15-20.) Given the absence of
21   any meaningful opportunity to contest the basis for restrictive placement before a
22   neutral factfinder, limited evidence exists regarding whether a child is or was
23   erroneously placed. In effect, Plaintiffs must rely on ORR and its contractors to identify
24   their own errors. A number of erroneous placements are nonetheless evident from a
25   review of (1) ORR casefiles, (2) email correspondence referencing the government’s
26   own review and finding of erroneous placements and non-compliant Notices of
27   Placement (“NOPs”), and (3) deposition testimony from government employees and
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1    contractors. Finally, fact discovery closed on March 13, 2020, meaning that any
2    evidence of more recent erroneous placements is solely within Defendants’ possession.
3          In light of these significant limitations, the evidence addressed below is
4    undoubtedly underinclusive, but nevertheless conclusively establishes that erroneous
5    placements continue to occur. And the record also amply demonstrates that the risk of
6    erroneous deprivation is sufficiently high to warrant robust procedural protections,
7    including pre-deprivation process when the child does not present an imminent danger
8    to themself or others. See Mathews v. Eldridge, 424 U.S. 319, 335 (1976) (three-factor
9    test considers “the risk of an erroneous deprivation of such interest through the
10   procedures used”); see also Zinermon v. Burch, 494 U.S. 113, 127-28 (1990) (due
11   process generally requires “some kind of hearing” before a deprivation of protected
12   liberty interests). To the extent safety concerns foreclose the possibility of pre-
13   deprivation notice and hearing—as argued by Defendants—the proposed order
14   submitted with Plaintiffs’ Motion for Partial Summary Judgment explicitly provides for
15   an exigency exception. (See ECF NO. 271-3, at ¶ 8.)
16         Second, Plaintiffs provide the Court with evidence of erroneous step-ups to staff-
17   secure and therapeutic staff-secure facilities for two reasons. First, ORR compliance
18   reviews often address erroneous or non-compliant placement in these types of facilities
19   concurrently with similar placement issues for secure facilities and RTCs. Second, to
20   the extent therapeutic staff-secure facilities treat children with mental health issues, they
21   function similarly to RTCs. (See ECF No. 271-2, at ¶ 135 (children in therapeutic staff-
22   secure may be required to undergo sex offender treatment); see also id., at ¶ 122.) The
23   undisputed evidence also shows that children placed in therapeutic staff-secure facilities
24   stay in ORR custody on average longer than children placed in RTCs and are often
25   denied subsequent placement in less restrictive facilities or programs. (Id., at ¶ 142; Pls.
26   MSJ Ex. 24 [Heath Dep. Tr.] at 214:2-7; Pls. MSJ Ex. 46 at 1271.) For these reasons,
27   Plaintiffs respectfully assert that therapeutic staff-secure facilities are more akin to
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1    RTCs than other, less restrictive placements and therefore children placed in such
2    facilities should be afforded similar procedural protections. 1
3        II.   Class Members Have Been Erroneously Stepped-Up After This Court’s
4              July 30, 2018 Flores Order.
5          As a threshold matter, the current NOP form submitted with the parties’
6    concurrently filed joint submission demonstrates on its face that ORR fails to comply
7    with this Court’s July 30, 2018 Flores Order because it does not require that a licensed
8    psychiatrist or psychologist determine that a child poses a danger to self or others before
9    placement at an RTC. Instead, the form states that “ORR has determined that . . . you
10   are a danger to self or others,” and that a licensed psychiatrist or psychologist has
11   indicated that the minor satisfies one of four listed criteria. (ECF No. 323-1 at 2)
12   (emphasis added).) Only one of the four possible criteria requires a finding that the child
13   poses a “real risk of harm to self, others, or the community.” (Id.; see Pls. MSJ Opp.
14   Ex. 152 [Contreras Dep. Tr.] at 124:13−16 (child does not have to satisfy all four bullets
15   of RTC placement criteria); Ex. 156 [Fields Dep. Tr.] at 242:17−243:16.) Tellingly,
16   none of the representative sample NOPs selected by Defendants for the joint submission
17   indicate that a licensed psychiatrist or psychologist determined the child posed a danger
18   to self or others.2 (See ECF No. 324-1 at 14–30.)
19
20   1
       As addressed in Plaintiffs’ briefing and at the hearing, Plaintiffs also respectfully
     maintain their position that Class Members stepped up to staff-secure and therapeutic
21
     group homes—which are more restrictive than shelters—are likewise entitled to
22   procedural protections. (See ECF No. 271-1, at 8-11; ECF No. 271-2, at ¶¶ 122-125,
     142; ECF No. 289, at 16-17; ECF No. 300, at 12 & n.15; see also Pls. MSJ Ex. 180
23
     [Quinn Expert Report] at 330–33.)
24   2
       The representative NOPs are also inadequate to protect Class Members’ due process
25   rights in that they contain boilerplate language regarding the availability of
     administrative and judicial review—which was added into the “summary of placement
26   decision or case review” and was not provided in older NOPs—that fails to
27   meaningfully inform children of the process to request review procedures. (See, e.g.,
     ECF No. 324-1 at 6.) Indeed, the boilerplate language adds no new information beyond
28   what the template form already includes regarding a child’s ability to challenge his/her
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1          The following evidence illustrates additional instances of erroneous placements
2    following this Court’s July 30, 2018 Flores Order. 3
3        • December 2018: During just the first week of a compliance review of secure
4          facilities, Faith Ray, an ORR Policy Analyst, determined that 18 out of 34 cases
5          “were not compliant in the placement criteria and/or the Notice of Placement
6          requirement.” (Pls. MSJ Ex. 190 at 427 (emphasis added); see Flores v. Sessions,
7          2018 WL 10162328, at *21-22 (delineating requirements for secure placements
8          and ordering that NOPs specify, in the child’s preferred language, the reasons for
9          restrictive placement).)
10       • In December 2018, minor C.J.E.M. was stepped-up to Shiloh RTC. (Ex. 205 at
11         61.) Nothing in the Transfer Request or NOP indicates that C.J.E.M. was found
12         to be a danger to herself or others or that her transfer was recommended by a
13         psychologist or psychiatrist. (See Exs. 205 at 62–63 & 206 at 65, 68, 72, 74, 77,
14         81, 85, 89, 93.) Although a note from C.J.E.M.’s shelter clinician references an
15         RTC referral from a nurse practitioner on September 4, 2018, C.J.E.M.’s Clinical
16         Progress notes (signed by the same nurse practitioner) from her shelter
17         placement, the latest dated October 23, 2018, all indicate her risk for suicide and
18         violence were low and recommended outpatient treatment. (Ex. 207 at 102, 107,
19
20   placement. Moreover, such addition does not guarantee that the information was
     discussed in any further detail than what was provided in writing in the NOP itself.
21   3
       As recognized by the Court, children placed in out-of-network facilities (“OONs”) are
22   entitled to all of the same procedural protections as children placed in their in-network
     analogs. (See Ex. 204 [MSJ Hearing Tr.] at 18:6-17.) That does not appear to be the
23
     case under ORR’s current policy and procedures as the undisputed evidence shows that
24   OONs are often RTCs and are similarly restrictive as in-network RTCs, yet ORR fails
     to offer specified criteria for OON placements in its Policy Guide or require written
25
     notice of placement in the same timeframe as in-network RTCs. (See ECF No. 271-2,
26   at ¶¶ 114, 121, 183−84.) Further, the absence of placement criteria means that Plaintiffs
     are not able to identify erroneous step-ups to OONs based on the evidence produced by
27
     Defendants in this case. Plaintiffs nonetheless maintain that all the same procedural
28   protections be afforded to children placed in OONs.
                                                       PLAINTIFFS’ SUPPLEMENTAL SUBMISSION
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1         112, 117, 122, 127, 132, 135–36.) In other words, C.J.E.M. was placed in an RTC
2         without any indication that she was a danger to herself or others, much less a
3         determination of the same from a licensed psychiatrist or psychologist in
4         violation of this Court’s July 30, 2018 Order. See Flores v. Sessions, 2018 WL
5         10162328, at *21. C.J.E.M. remained at Shiloh until at least July 2019. (Ex. 206
6         at 66.)
7      • January 2019: An ORR Policy Analyst emailed Toby Biswas, U.S. Department
8         of Health and Human Services Senior Supervisory Policy Counsel, indicating
9         that a NOP review of staff-secure facilities and RTCs in the month of January
10        2019 revealed an astonishing 93 NOPs were not compliant with this Court’s order
11        and ORR’s own policies, out of the 128 cases reviewed. (Pls. MSJ Ex. 171 at
12        264; see also Pls. MSJ Ex. 23 [Fink Dep. Tr.] at 153:8−13 (confirming that in
13        January 2019, “over 70 percent of kids in [staff-secure facilities and RTCs] were
14        placed there out of compliance with ORR’s own policies and a standing court
15        order specific to NOPs.”) (emphasis added).)
16     • January 14, 2019: Without citing specific examples of minors in custody, Ms.
17        Ray emailed Mr. Biswas a list of policies and procedures that corresponded with
18        compliance issues she had seen in her review of secure facilities, including
19        placement in secure facilities based on “risk of escape,” placement based on
20        “suspected gang membership or affiliation only,” and placement based on “the
21        arrest and subsequent dismissal of charges.” (Pls. MSJ Ex. 44 [Ray Dep. Ex. 119]
22        at 1264.) In other words, Class Members were placed in secure facilities without
23        any indication they were a danger to themselves or others and in violation of this
24        Court’s July 30, 2018 order specifying the limited circumstances under which
25        suspected gang membership and criminal charges trigger restrictive placement.
26        See Flores v. Sessions, 2018 WL 10162328, at *22.
27     • February 2019: Ms. Ray identified a minor who had been placed at Yolo Secure
28        Facility (“Yolo”) for over three weeks without a finding that he was a danger to
                                                     PLAINTIFFS’ SUPPLEMENTAL SUBMISSION
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1         self or others. At Ms. Ray’s deposition, she testified that she asked the Federal
2         Field Specialist (“FFS”) overseeing Yolo about the minor and the reasons the
3         FFS provided for placing the minor in a secure facility “were not adequate or
4         appropriate for placement in secure.” (Pls. MSJ Ex. 33 [Ray Dep. Tr.] at 152:14–
5         153:22.)
6      • February 2019: During a compliance review of Yolo, Ms. Ray identified “a new
7         secure placement at Yolo” where the “NOP was so vague and did not contain
8         enough information to know if [the minor] is an actual danger to self or others.”
9         (Pls. MSJ Ex. 139 at 2028.) After reviewing the minor’s serious incident reports
10        (SIRs), Ms. Ray determined that it appeared as though the minor was “more of
11        an annoyance than an actual danger.” (Id.) During her deposition, Ms. Ray
12        recalled that the information she reviewed “did not speak to dangerousness.” (Pls.
13        MSJ Ex. 33 [Ray Dep. Tr.] at 157:10–158:17.)
14     • February 21, 2019: An ORR Policy Analyst emailed the FFS for Friends of
15        Youth McEachern, a therapeutic staff-secure facility, indicating that a NOP
16        review for the month of February 2019 revealed six out of seven cases that were
17        non-compliant with the Court’s July 30 Order. (Ex. 208 at 138.)
18     • March 4, 2019: An ORR Policy Analyst emailed the FFS for Friends of Youth
19        McEachern and Friends of Youth Matsen, both therapeutic staff-secure facilities,
20        indicating that a NOP review revealed four out of 13 cases across two facilities
21        that were non-compliant with the Court’s July 30, 2018 Order. (Ex. 209 at 140.)
22     • In July 2019, Shenandoah Valley Juvenile Center (“SVJC”), a secure facility,
23       accepted a child even after Yolo secure facility declined placement and
24       recommended that the child be placed in staff-secure rather than secure. (Ex. 210
25       [Contreras Dep. Tr.] at 104:11-106:22.) According to Yolo, the child “is very
26       young and displays childlike and immature behaviors” making them “vulnerable
27       in a more sophisticated environment such as a secure program.” (Id.)
28     • In September 2019, minor D.M.M.R. was transferred to an RTC based
                                                     PLAINTIFFS’ SUPPLEMENTAL SUBMISSION
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1         apparently on a psychiatrist’s determination that the child “presented symptoms
2         of depression.” (Ex. 211 at 179.) The recommendation letter makes no finding
3         that D.M.M.R. was a danger to self or others. (Id. at 177.) D.M.M.R.’s case file
4         shows that a psychiatrist continued to recommend that she stay at Shiloh despite
5         an improvement in mood and behavior and without the requisite finding that
6         D.M.M.R. was a danger to self or others. As of June 12, 2020, D.M.M.R. was
7         still at Shiloh. (Ex. 212 at 190–91.)
8      • During her January 23, 2020 deposition, Carina Contreras, lead Case Manager
9         at SVJC, a secure facility, described examples of inappropriate justifications used
10        to place children at SVJC, including “behavioral history that was related to
11        escape risk, which meets staff secure criteria” and a “more recent[]” situation in
12        which a minor was charged with a “nonviolent offense.” (Pls. MSJ Ex. 16
13        [Contreras Dep. Tr.] at 75:11–77:3.)
14     • During her January 23, 2020 deposition, Ms. Contreras also testified that there
15        were children who have been placed at SVJC who had criminal charges dropped
16        prior to their admission to SVJC which made their placement in a secure facility
17        inappropriate. (Pls. MSJ Ex. 16 [Contreras Dep. Tr.] at 80:2–5.)
18     • During her February 24, 2020 deposition, Marivic Fields, ORR Senior Advisor
19        for Child Welfare and Safety, testified that it was still her opinion that “not all
20        [children] are referred to Shiloh or any RTC for reasons that they pose a risk to
21        self or others, and it shouldn’t be just for these reasons, but primarily for safety
22        reasons and these UACs require a higher level of care.” (Pls. MSJ Ex. 112 [Fields
23        Dep. Tr.] at 188:16-24.)
24     • During his September 25, 2020 deposition, Shiloh RTC Medical Director Dr.
25        Javier Ruiz testified that ORR does not require that he “state that the child is a
26        danger to themselves or others” to accept them at Shiloh. (Pls. MSJ Ex. 163 [Ruiz
27        Dep. Tr.] at 259:19–25.) Dr. Ruiz further testified that he evaluates danger to self
28        or others, “but it’s not a requirement from ORR that something like that has to be
                                                      PLAINTIFFS’ SUPPLEMENTAL SUBMISSION
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1               found.” (Id. at 274:17-22; see also ECF No. 289-1, at ¶¶ 46-47.)
2        • In addition, it is undisputed that both children who had hearings before ORR’s
3           newly-established (and similarly deficient) Placement Review Panel (“PRP”)
4           pilot program were stepped down following panel review of their placement.
5           (DX-10 [Biswas Dec.] ¶ 60; see also ECF No. 289 [Pls. MSJ Opp.] at 33.) 4
6        III.      Conclusion
7           Based on the arguments and evidence presented in Plaintiffs’ Motion for Partial
8    Summary Judgment, as well as in this supplemental submission, Plaintiffs respectfully
9    request the Court order adequate pre-deprivation procedures to protect against the
10   erroneous placement of Class Members in restrictive placements, which include
11   juvenile detention centers and highly restrictive psychiatric institutions. As shown in
12   the undisputed evidence submitted with Plaintiffs’ Motion (see, e.g., ECF No. 271-2, at
13   ¶¶ 1-9, 130, 133-149, 155, 218–219), such placements are inherently harmful to
14   children, are correlated with significantly longer periods of detention in ORR custody
15   away from family members, and are difficult to remedy because of substantial obstacles
16   to prompt step-down.
17
     Dated: January 8, 2021                  COOLEY LLP
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19
                                             By: /s/ Summer J. Wynn
20                                               Summer J. Wynn (240005)
                                                 Attorneys for Plaintiffs
21                                               Email: swynn@cooley.com
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     4
       Defendants failed to produce any information relating to ORR’s new PRP pilot
27
     program during discovery, so it is possible that the program has uncovered additional
28   erroneous step-ups.
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